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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
                                                 Case: 1:21−mc−00090
                                                 Assigned To : Walton, Reggie B.
 UNITED STATES OF AMERICA,                       Assign. Date : 6/2/2021
                                                 Description: Misc.
 v.                                                           Case No. 1:21-cr-158-RBW

 KYLE FITZSIMONS,

                Defendant.


                   APPLICATION FOR ACCESS TO VIDEO EXHIBITS

       Pursuant to Local Criminal Rule 57.6 and Standing Order No. 21-28 (BAH), applicants

Cable News Network, Inc., American Broadcasting Companies, Inc. d/b/a ABC News, The

Associated Press, Buzzfeed, Inc. d/b/a BuzzFeed News, CBS Broadcasting Inc. o/b/o CBS News,

Dow Jones & Company, Inc., publisher of The Wall Street Journal, The E.W. Scripps Company,

Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times Communications LLC, publisher

of The Los Angeles Times, National Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBC

News, The New York Times Company, Pro Publica, Inc., Tegna, Inc., and WP Company LLC,

d/b/a The Washington Post (together, the “Press Coalition”) respectfully seek access, under the

First Amendment and common law, to certain video recordings that have been submitted to the

Court in this matter. In support of this application the Press Coalition states as follows:

       1.      On May 14, 2021, in response to a motion filed by the Press Coalition, Chief

Judge Beryl A. Howell issued Standing Order No. 21-28 (the “Standing Order”), a copy of which

is attached hereto for the Court’s convenience. The Standing Order recognizes “[t]he significant

public and media interest in the numerous criminal cases arising from the January 6, 2021 violent

breach of the United States Capitol (the ‘Capitol Cases’), for which the parties are routinely

submitting video exhibits to the Court for use in pretrial proceedings.” See Standing Order at 2.
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        2.     To accommodate this interest, the Standing Order provides that “[m]embers of the

media seeking access to video exhibits submitted to the Court in Capitol Cases may file an

application . . . to the presiding judge in the case, or if no judge has been assigned, to the Chief

Judge, for determination, and the judge may seek the position of the parties.” See id. at 5.

        3.     The Standing Order further provides that “[u]pon grant of such media application,

the government shall make the video exhibit[s] available to any member of the media with

necessary access credentials provided by the government, unless the order otherwise limits

access.” See id. at 5-6. Specifically, the Standing Order states that “[m]embers of the media

provided access to video exhibits in a particular case pursuant to such order may view those

exhibits” by way of an electronic “‘drop box’” into which the government has agreed to place

videos subject to access orders in the Capitol Cases. See id. at 6.

        4.     This action is one of the Capitol Cases. Defendant Kyle Fitzsimons is alleged to

have “forcibly entered and remained on the Capitol grounds and sought to stop, delay, and hinder

Congress’s certification of the Electoral College vote,” to have “engaged directly with officers

by pulling them by the body parts, including the shoulder, in attempt to pull them into the

crowd,” and to have “pulled the gas mask off another officer, which was then followed by

another individual spraying the officer in the face.” See Mem. in Supp. of Pretrial Detention at

7, Dkt. 7.

        5.     On March 18, 2021, the Government argued that Defendant should be detained

pending trial, stating in part that “the FBI was able to identify Fitzsimons in a collection of video

footage, including body worn camera worn by Metropolitan Police Officers, video surveillance

from the Capitol Building and a video posted online showing Fitzsimons walking away from the




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Capitol area bloodied.” Id. at 3. The Government also included several screenshots from those

videos (the “Video Exhibits”) in a court filing. See Statement of Facts at 2-4, Dkt. 1-1.

       6.      The Video Exhibits were plainly “intended to influence the court” in its decision-

making, and as a result they are judicial records subject to a “strong presumption in favor of

public access.” Leopold v. United States, 964 F.3d 1121, 1127-28 (D.C. Cir. 2020) (Garland, J.).

       7.      Neither the Government nor the Defendant could possibly rebut the presumption

of access under the applicable test set out in United States v. Hubbard, 650 F.2d 293, 317-21

(D.C. Cir. 1980). See, e.g., United States v. Jackson, 2021 U.S. Dist. LEXIS 49841 (D.D.C.

Mar. 17, 2021) (Howell, C.J.) (granting access to video exhibits in one of the Capitol Cases).

       8.      Because the Video Exhibits are judicial records subject to an unrebutted

presumption of public access, the Court should grant this Application and direct the Government

to release the Video Exhibits to the Press Coalition via electronic “drop box” within 72 hours.

To expedite that release, the Court should further instruct the Government to provide

undersigned counsel with the “necessary access credentials” referenced in the Standing Order.

       9.      The Standing Order provides that “[n]o recording, copying, downloading,

retransmitting or further broadcasting of video exhibits in a particular case is permitted, unless

such permission is granted by the presiding judge.” See Standing Order at 6. The Press

Coalition therefore requests that the Court grant permission to record, copy, download,

retransmit, and otherwise further publish these Video Exhibits.1




1
 The Press Coalition makes this request without conceding that the Standing Order complies
with the First Amendment or common law, and expressly reserving the right to challenge this
and other portions of the Standing Order in this and other Capitol Cases.

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                                        CONCLUSION

       For the foregoing reasons, the Press Coalition respectfully requests that the Court order

the Government to release the Video Exhibits, without restriction, within 72 hours.

        Dated: June 2, 2021               Respectfully submitted,

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